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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
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 In re:

 THE FRESH ICE CREAM COMPANY, LLC                                     Chapter 11
 d/b/a Craft Collective                                               Case No. 17-40716(ESS)
 d/b/a Steve’s Ice Cream,

                                              Debtor.
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         ORDER APPROVING DEBTOR’S FIRST AMENDED DISCLOSURE
           STATEMENT AND SCHEDULING HEARING TO CONSIDER
       CONFIRMATION OF DEBTOR’S FIRST AMENDED CHAPTER 11 PLAN
      OF REORGANIZATION UNDER 11 U.S.C. §1129 AND RELATED NOTICES

        UPON the filing of the Debtor’s First Amended Chapter 11 Plan of Reorganization

dated October 16, 2017 (ECF Doc. No.69; the “Plan”) and the Debtor’s First Amended

Disclosure Statement dated October 16, 2017 (ECF Doc. No. 70; the “Disclosure Statement”) by

the above-captioned debtor and debtor-in-possession (the "Debtor"), and the Court having

determined that, after a hearing held before the Court on October 17, 2017, that the Disclosure

Statement, as revised, contains adequate information of the kind required under Section 1125 of

the Bankruptcy Code, and objections, if any, having either been resolved, withdrawn or

overruled, it is hereby

        ORDERED, that the Disclosure Statement is hereby approved as containing adequate

information as required by Section 1125 of the Bankruptcy Code; and it is further

        ORDERED, that the Debtor is authorized and empowered to distribute the Plan and

Disclosure Statement and solicit acceptances or rejections of the Plan; and it is further

        ORDERED, that the Debtor is authorized to conform the Disclosure Statement to

        include the hearing dates and deadlines set forth in this Order; and it is further

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          ORDERED that in accordance with Federal Rule of Bankruptcy Procedure (“Rule”)

3017 by the close of business on October 20, 2017, the Debtor shall serve by ordinary mail, on

all known creditors, interest holders, the U.S. Trustee and other parties in interest, a copy of this

Order, the Plan, the Disclosure Statement (as conformed), and a ballot in conformity with

Official Form 14 (with instructions for returning the ballot); and it is further

          ORDERED, that the last date by which the holders of claims and interests may accept or

reject the Plan is December 5, 2017 at 4:00 p.m. Eastern time (“Voting Deadline”); and it is

further

          ORDERED that the Court hereby authorizes Jonathan S. Pasternak, Esq. to act as the

Balloting Agent (the "Balloting Agent") and that to be counted, ballots for accepting or rejecting

the Plan must be actually received by the Balloting Agent by the Voting Deadline in accordance

with the instructions set forth on the ballot; and it is further

          ORDERED that the Balloting Agent shall inspect, monitor and supervise the solicitation

process and shall be responsible for tabulating ballots and certifying to the Court the outcome of

the balloting. The Balloting Agent shall file a voting tabulation report with the Court no later

than 5:00 p.m. (prevailing Eastern Time) on December 6, 2017 as provided in Rule 3018 and

Local Bankruptcy Rule for the Eastern District of New York 3018-1; and it is further

          ORDERED that, pursuant to §§ 105(d)(2)(B)(vi) and 1125(f)(3) of title 11 of the United

States Code, 11 U.S.C. §§ 101, et seq. (the "Bankruptcy Code") and Rules 2002(b) and 9006, a

hearing shall be held before the Honorable Elizabeth S. Stong, United States Bankruptcy Judge,

at the United States Bankruptcy Court, Eastern District of New York, 271-C Cadman Plaza East,

Courtroom 3585, Brooklyn, New York, 11201-1800 on December 12, 2017 at 10:30 a.m., or as


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soon thereafter as counsel may be heard, to consider confirmation of the Plan pursuant to § 1129

of the Bankruptcy Code together with such other and further relief as is proper under the

circumstances; and it is further

       ORDERED, that December 5, 2017 at 4:00 p.m. is fixed as the deadline for filing and

serving any written objections to confirmation of the Plan, which objections, if any, shall be

made in writing, filed with the Bankruptcy Court at the Court’s website www.nyeb.uscourts.gov/

(login and password required) and served upon DelBello Donnellan Weingarten Wise &

Wiederkehr, LLP, counsel for the Debtor, One North Lexington Avenue, White Plains, NY

10601, attn.: Jonathan S. Pasternak, Esq. or Erica R. Aisner, Esq., and upon Westerman Ball

Ederer Miller Zucker & Sharfstein, LLP, 1201 RXR Plaza, Uniondale, New York 11556, attn:

William C. Heuer, Esq., with a copy delivered directly to Chambers.




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 Dated: Brooklyn, New York                                              Elizabeth S. Stong
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        October 19, 2017                                         United States Bankruptcy Judge
